                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
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 My Pillow, Inc. DBA MyPillow,
                                                 Court File No. ____________________
               Plaintiff,

 v.
                                                         COMPLAINT
 US DOMINION, INC., DOMINION                     WITH DEMAND FOR JURY TRIAL
 VOTING SYSTEMS, INC., and
 DOMINION VOTING SYSTEMS
 CORPORATION,

               Defendants.
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                                I.     INTRODUCTION

       1.     Freedom of speech, and free and fair elections, are twin pillars of our

constitutional order. Intersection of the two—debate in the public square about elections—

is therefore a matter of grave constitutional concern. Discussion of election integrity must

receive the highest protection under the First Amendment.

       2.     Defendants (referred to herein collectively as “Dominion”) have engaged in

a scorched earth campaign, debasing the legal system through a practice that has become

known as “lawfare.” Dominion’s purpose is to silence debate; to eliminate any challenge

to the 2020 presidential election; and to cancel and destroy anyone who speaks out against

Dominion’s work on behalf of the government in administering the election.

       3.     Evidence of problems with electronic voting systems, including Dominion’s

system, has been accumulating for over a decade, and the 2020 election cycle only

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accelerated this trend. Prior to 2020, it was well-established that these systems are wide-

open to hacking. Evidence that Dominion’s voting systems actually were hacked in the

2020 election continues to accumulate. Questions and concerns are growing, not subsiding.

The adverse impact of electronic voting systems on the 2020 election was significant. A

prudent, robust democracy cannot afford to ignore this evidence if it hopes to survive.

       4.     Some states, like Texas, rejected Dominion voting systems after examining

their vulnerability to hacking. Others, like Arizona, have found cause to order post-election

forensic audits of electronic voting systems—including Dominion’s voting machines—to

attempt to “restore integrity to the election process.” 1 Last month, the New Hampshire

Senate voted 24-0 to conduct a complete examination of Dominion-owned voting machines

after suspicious shorting of votes was discovered. 2 Litigation involving Dominion’s voting

machines is ongoing in Antrim County, Michigan after about 6,000 votes were discovered

to have been wrongly switched between Presidential candidates—a so-called “glitch.”3

During a December 30, 2020 live-streamed hearing held by the Georgia Senate Judiciary



1
  Press Release, Ariz. Senate Republicans, Senate chooses qualified auditing firm to
conduct forensic audit of Maricopa County election results (Jan. 29, 2021)
https://www.azsenaterepublicans.com/post/senate-chooses-qualified-auditing-firm-to-
conduct-forensic-audit-of-maricopa-county-election-results.
2
  Chad Groenig, Dominion gets caught shorting GOP candidates, One News Now, Mar.
5, 2021, https://onenewsnow.com/politics-govt/2021/03/05/dominion-gets-caught-
shorting-gop-candidates.
3
  Tom Pappert, VIDEO: Michigan County Discovers ‘Glitch’ That Gave 6,000 Trump
Votes to Biden, National File, Nov. 6, 2020, https://nationalfile.com/video-michigan-
county-discovers-glitch-that-gave-6000-trump-votes-to-biden/; Jack Windsor, Votes for
Trump Went to Biden in Antrim County, Michigan, The Michigan Star, Nov. 7,
2020, https://themichiganstar.com/2020/11/07/votes-for-trump-went-to-biden-in-antrim-
county-michigan/.
                                             2
Subcommittee on Elections, a testifying expert hacked into a Dominion polling pad during

a live broadcast to the world. 4

       5.     MyPillow’s founder and CEO has spoken in his personal capacity accurately

about these issues of great public concern. He has presented evidence backed by expert

analysis to raise public awareness of election integrity issues—particularly relating to the

hacking of electronic voting machines like Dominion’s machines. For those actions,

Dominion sued him baselessly alleging defamation and seeking a headline grabbing,

fictitious $1.3 billion in damages.

       6.     However, Dominion’s true purpose is not simply to silence Mike Lindell, but

to silence anyone else who might speak out on election fraud. Thus, Dominion also sued

the company Mike Lindell founded, MyPillow, and hence its hundreds of employees, some

of whom are co-owners. Dominion did not sue MyPillow because MyPillow made

statements about Dominion. MyPillow made no such statements. Instead, by suing

MyPillow, Dominion seeks to punish MyPillow’s CEO, Mike Lindell, for his statements.

Dominion also seeks to send a message to others: “Shut up or else.”

       7.     That is why Dominion’s campaign also included bragging publicly about

sending threatening letters to over 150 individuals demanding they cease and desist from

commenting on the election or Dominion. 5 Among the recipients of these shotgun-style



4
  Ski, Dominion machines hacked LIVE during Georgia election hearing, Blue White
Illustrated (Dec. 30, 2020, 10:31 AM), https://bwi.forums.rivals.com/threads/dominion-
machines-hacked-live-during-georgia-election-hearing.286325/.
5
  Hannah Knowles and Emma Brown, Dominion threatens MyPillow CEO Mike Lindell
with lawsuit over ‘false and conspiratorial’ claims, Washington Post, Jan. 18,
                                             3
attack letters are everyday citizens—not public figures—who volunteered as poll watchers

in the 2020 election and signed sworn statements about election irregularities they

witnessed. Dominion found out who they were and dispatched its lawyers to send them

threatening cease-and-desist letters, falsely claiming they had defamed Dominion when

these private citizens never mentioned Dominion. Dominion then illegally demanded these

private citizens preserve all communications, emails, texts—private or otherwise—and a

host of other materials. Dominion’s and its lawyers’ widespread intimidation tactics of

ordinary citizens may be routine in a Third World country—but they are abhorrent in

America. “[T]here is no justification for harassing people for exercising their constitutional

rights.” Bart v. Telford, 677 F.2d 622, 625 (7th Cir. 1982).

       8.     However, Dominion did not stop there. To give its letters further intimidating

weight, Dominion’s campaign extended to suing several news networks, like Fox News,

and individuals for billions of dollars. These lawsuits were amplified by a high-powered,

well-orchestrated publicity campaign designed to spread their allegations to as many

people as possible. Dominion intends for its media blitzkrieg to inflict a crippling fear of

becoming the next target for destruction if one dares to raise any question about the use

and integrity of voting machines during elections.

       9.     In a highly publicized interview, Dominion’s CEO threatened that the lawsuit

Dominion brought against MyPillow was “definitely not the last” lawsuit and that

Dominion is “not ruling anyone out.” Dominion’s message is clear: be silent and fall in


2021, https://www.washingtonpost.com/politics/2021/01/18/dominion-mike-lindell-
mypillow/.
                                              4
line—or you will be next to be taken down under its relentless attack. Harkening back to

some of the worst days in our history, Dominion has taken a page out of Joseph McCarthy’s

playbook by creating a blacklist for public scorn leading to both reputational and economic

destruction. From high-powered news organizations to regular citizens and private home-

bedding companies, no one is safe.

       10.    Having never commented on the election or Dominion, MyPillow has

nonetheless borne the full wrath of Dominion’s illegal campaign of intimidation. By this

action, MyPillow seeks to hold Dominion accountable for the extreme and destructive

consequences of its bullying and wrongful tactics which have directly harmed MyPillow

and its employees.

       11.    Far beyond harassment, MyPillow has been intentionally targeted and greatly

damaged by Dominion. MyPillow employees live in fear. Their lives have been threatened.

They have been canceled and shut down. They have been compelled to self-censor. In

addition, MyPillow has lost numerous major customers who ended their long-term

relationships to sell MyPillow’s product line due to Dominion’s highly publicized attacks.

       12.    Dominion is using the legal process as a weapon to suppress free speech. In

contrast, MyPillow brings this action to open debate and expand free speech. Indeed,

MyPillow would move this entire debate to the public square for a full airing of all facts

and opinions on the subject. This lawsuit is brought in support of the marketplace of ideas

and to remedy the grave harm that has been suffered by MyPillow as a result of Dominion’s

suppression of speech and attacks on the Company.



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                                      II.    PARTIES

       13.    Plaintiff My Pillow, Inc. DBA MyPillow (“MyPillow”) is a Minnesota

corporation with its principal place of business in Chaska, Minnesota.

       14.    Defendant US Dominion, Inc. is a Delaware corporation with its principal

place of business in Denver, Colorado.

       15.    Defendant Dominion Voting Systems, Inc. is a Delaware corporation with its

principal place of business in Denver, Colorado.

       16.    Defendant Dominion Voting Systems Corporation is an Ontario corporation

with its principal place of business in Toronto, Ontario.

       17.    Defendants are referred to herein collectively as “Dominion.”

                          III.     JURISDICTION AND VENUE

       18.    Jurisdiction in this matter arises under 28 U.S.C. § 1331. Plaintiff brings

claims under laws of the United States. Supplemental jurisdiction over Plaintiff’s

Minnesota state law claims arises under 28 U.S.C. § 1367(a). The state law claims are so

related to the federal law claims as to form part of the same case or controversy. Jurisdiction

also arises under 28 U.S.C. § 1332 because there is complete diversity of citizenship

between Plaintiff and the Defendants, and the amount in controversy exceeds $75,000,

exclusive of interest and costs.

       19.     Venue is proper in the District of Minnesota pursuant to 28 U.S.C. § 1391(b)

because a substantial part of the events or omissions giving rise to Plaintiff’s claims

occurred in Minnesota and Plaintiff’s domicile and operations are in Minnesota. Plaintiff

also has suffered damages in Minnesota resulting from Defendants’ actions.

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       20.    This Court has personal jurisdiction over Defendants because Defendants

transact business within Minnesota. Defendants’ voting machines and services are used in

Minnesota. Defendants have sold their products and services within (and to) Minnesota.

Defendants purposely avail themselves of numerous benefits and privileges of Minnesota

law. Requiring Defendants to litigate these claims in Minnesota does not offend traditional

notions of fair play and substantial justice and is permitted by the Due Process Clause of

the United States Constitution.

                          IV.     FACTUAL ALLEGATIONS

A.     Dominion provides election administration services and equipment.

       21.    Dominion manufactures, distributes, and maintains voting hardware and

software. Dominion executes software updates, fixes, and patches for its voting machines,

including as late as the night before election day, and it pushes out such software through

means selected at its own discretion, including via the internet.

       22.    Dominion designs public election processes with its hardware and software

products at the center and provides administrative services for public elections. While polls

are open, Dominion employees stand by to provide troubleshooting and support when

voting machines malfunction, among other election services. Dominion audits the

performance of the machines and elections.

B.     Dominion administers elections across the United States.

       23.    For the 2020 election, Dominion provided its voting machines and services

in more than half of the United States, including Minnesota. Many of these states, such as

Arizona, Nevada, Wisconsin, Michigan, Georgia, Florida, and Pennsylvania, have been

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referred to as battleground or swing states because their voters are equally divided (or

nearly equally divided) in their degree of support for the two primary political parties.

Dominion has contracts with over 1,300 governmental jurisdictions around the United

States to administer elections.

C.     Dominion is a governmental actor.

       24.    As a result of Dominion’s contracts with government entities, it is delegated

responsibility to administer public elections—a core governmental function.

       25.    By its own account Dominion provides an “END-TO-END ELECTION

MANAGEMENT SYSTEM” that “[d]rives the entire election project through a single

comprehensive database.” 6 Its tools “build the election project,” and its technology

provides “solutions” for “voting & tabulation,” and “tallying & reporting,” and “auditing

the election.” The products sold by Dominion include ballot marking machines, tabulation

machines, and central tabulation machines, among others.

       26.    By contracting with governmental jurisdictions to provide comprehensive

voting solutions for public elections, including the election of individuals to serve in

constitutionally prescribed offices, and as more fully described herein, Dominion is a

governmental actor.

       27.    Dominion’s involvement in running the presidential election amounts to state

action. Dominion willfully participates in joint activity with the state during voting,




6
 DEMOCRACY SUITE® ELECTION MANAGEMENT SYSTEM,
https://www.dominionvoting.com/democracy-suite-ems/ (last visited Apr. 18, 2021).
                                            8
including by supplying its products and services coextensively with election officials to

carry out the election. There is pervasive entwinement between Dominion and the state.

      28.    In its capacity as—and using its authority as—a governmental actor,

Dominion allowed manipulation or changing of votes in the 2020 election, as well as

suppressed public debate about the election which deprived MyPillow of its rights.

      29.    As a result of systemic and widespread vulnerabilities in Dominion’s

software and hardware, widespread claims have been lodged that during the 2020 election

significant numbers of votes across the country were altered.

D.    Well before the 2020 election, a broad spectrum of evidence showed
      Dominion’s voting machines were wide open to being hacked, and a multitude
      of government officials and media sources publicized this vulnerability.

      30.    For many years serious security and technology problems have dogged

Dominion’s election machines and systems.

      31.    In May 2010, Dominion purchased Premier Election Solutions (“Premier”)

from Election Systems & Software (“ES&S”), thereby acquiring all intellectual property,

software, and firmware and hardware for Premier’s voting systems and all versions of

Premier’s Global Election Management System (GEMS). 7

      32.    Premier was formerly owned by Diebold Elections Systems, but its name

was changed from Diebold in 2007 after a series of studies publicized Diebold’s unreliable

security and accuracy, and technical problems sullied its reputation. The name change was


7
  “Dominion Voting Systems, Inc. Acquires Premier Election Solutions Assets from
ES&S” (May 20, 2010), available at https://www.benzinga.com/press-
releases/10/05/b292647/dominion-voting-systems-inc-acquires-premier-election-
solutions-assets-.
                                            9
motivated by the desire to create a fresh public image. 8 Then, in September 2009, parent

company Diebold sold Premier to ES&S for $5 million, reporting a $45 million loss. 9

About nine months later ES&S sold Premier to Dominion, in May 2010.

      33.      The Diebold technology Dominion obtained when it acquired Premier had a

long and troubled track record.

            a. In 2003, it was discovered that Diebold had left approximately 40,000 files

               that made up its foundational e-voting security software code, GEMS,

               entirely unprotected on a publicly accessible website. 10

            b. Following the discovery that the GEMS code was publicly available,

               computer programmers around the world began probing and testing it. In

               2012, a Harper’s Magazine article titled “How to Rig an Election”

               summarized, “GEMS turned out to be a vote rigger’s dream. According to

               [one investigator’s] analysis, it could be hacked, remotely or on-site, using

               any off-the-shelf version of Microsoft Access, and password protection was

               missing for supervisor functions. Not only could multiple users gain access




8
  Allison St. John, Diebold Voting Machine Company Changes Name to Improve Image,
KPBS (Aug. 21, 2007) available at https://www.kpbs.org/news/2007/aug/21/diebold-
voting-machine-company-changes-name-to/.
9
  Ryan Paul, Diebold impeaches e-voting unit, sells it off for $5 million, ARS TECHNICA
(Sept. 4, 2009), available at https://arstechnica.com/tech-policy/2009/09/diebold-elects-
to-get-out-of-the-voting-machine-business/.
10
   Victoria Collier, How to Rig an Election, HARPER’S MAGAZINE (Nov. 2012), available
at https://harpers.org/archive/2012/11/how-to-rig-an-election/.
                                              10
             to the system after only one had logged in, but unencrypted audit logs

             allowed any trace of vote rigging to be wiped from the record.” 11

         c. In 2004, a team of computer scientists from Johns Hopkins University and

             Rice University concluded about the GEMS code: “this voting system is far

             below even the most minimal security standards applicable in other contexts

             . . . . [It] is unsuitable for use in a general election.” 12 More broadly, the team

             wrote, “The model where individual vendors write proprietary code to run

             our elections appears to be unreliable, and if we do not change the process of

             designing our voting systems, we will have no confidence that our election

             results will reflect the will of the electorate. We owe it to ourselves and to

             our future to have robust, well-designed election systems to preserve the

             bedrock of our democracy.”

         d. In 2006, a team of computer scientists at Princeton University analyzed the

             security of the Diebold AccuVote-TS voting machine, then one of the most

             widely-deployed electronic voting platforms in the United States. They

             found, “Malicious software running on a single voting machine can steal

             votes with little risk of detection. The malicious software can modify all of

             the records, audit logs, and counters kept by the voting machine, so that even



11
   Id.
12
   Takayoshi Kohno, Adam Stubblefield, Aviel D. Rubin, and Dan S. Wallach, Analysis
of an Electronic Voting System, IEEE Symposium on Security and Privacy and Privacy
2004, IEEE COMPUTER SOCIETY PRESS, May 2004, available at
https://avirubin.com/vote.pdf (Ex. 1).
                                              11
               careful forensic examination of these records will find nothing amiss. . . .

               Anyone who has physical access to a voting machine, or to a memory card

               that will later be inserted into a machine, can install said malicious software

               using a simple method that takes as little as one minute. . . . AccuVote-TS

               machines are susceptible to voting machine viruses – computer viruses that

               can spread malicious software automatically and invisibly from machine to

               machine during normal pre- and post-election activity.” 13

            e. The Princeton team prepared a video demonstration showing how malware

               could shift votes cast for one candidate to another. 14 In the video, mock

               election votes were cast in favor of George Washington by a 4 to 1 margin,

               but the paper print-out that reported the results showed Benedict Arnold

               prevailing by a margin of 3 to 2. Malicious vote-stealing malware was the

               sole reason for reallocation of votes from Washington to Arnold, and the

               malware deleted itself after the election, leaving no evidence that the voting

               machine was ever hijacked or any votes stolen. 15

      34.      Despite the multitude of security weaknesses in GEMS, the “vote rigger’s

dream,” Dominion wasted no time incorporating GEMS into its voting machines after



13
   Ariel J. Feldman, J. Alex Halderman, and Edward W. Felten, Security Analysis of the
Diebold AccuVote-TS Voting Machine, USENIX (Sep. 13, 2006),
https://www.usenix.org/legacy/event/evt07/tech/full_papers/feldman/feldman_html/index
.html (Ex. 2).
14
   See Security Demonstration of DieBold AccuVote-TS Electronic Voting Machine,
YOUTUBE (Nov. 30, 2016) https://www.youtube.com/watch?v=B8TXuRA4IQM&t=20s.
15
   See id.
                                              12
acquiring the technology in 2010. By 2011, Dominion Voting Systems was selling voting

systems that had updated GEMS software at their heart. 16

       35.    Even before Dominion acquired the GEMS system, Dominion’s machines

were riddled with problems globally. In 2009, during a New York congressional election,

Dominion’s software had problems including that it allowed voters to vote for more than

one candidate, and its faulty machines froze during operation due to insufficient memory. 17

In 2010, in a Philippines election where Dominion’s products were in more than 2,200

local municipalities, a Dominion glitch caused voting machines to incorrectly read ballots.

A Product Manager of Dominion indicated that more than 76,000 compact flash cards had

to be configured just days before the election. 18

       36.    Dominion continued selling and leasing the troubled AccuVote voting

machine as recently as 2017. 19

       37.    Dominion voting systems reliant on GEMS were used in the 2020 general

election.



16
   Ken Detzner, Voting System Qualification Test Report Dominion Voting Systems, Inc.
GEMS Release 1.21.6, Version 1, FLA. DEP’T OF STATE (Mar. 2012),
https://files.floridados.gov/media/697908/dominion-gems-release-1216-version-1-test-
report.pdf (Ex. 3).
17
   Dominion also handled 2009 NY congressional poll, ABS-CBN News, May 7,
2010, https://news.abs-cbn.com/nation/05/07/10/dominion-also-handled-2009-ny-
congressional-poll.
18
   Ina Reformina, Source code firm Dominion sheds light on voting glitch, ABS-CBN
News, May 7, 2010, https://news.abs-cbn.com/nation/05/07/10/source-code-firm-
dominion-sheds-light-voting-glitch.
19
   See, e.g., Notice of Contract: Contract No. 071B7700117, State of Michigan Enterprise
Procurement: Department of Technology, Management, and Budget, 48 (2017),
https://www.michigan.gov/documents/sos/071B7700117_Dominion_555356_7.pdf.
                                              13
E.     A Federal Judge in Georgia finds Dominion’s voting systems are highly
       vulnerable to malicious manipulation.

       38.    Following the 2016 general election, a left-leaning advocacy organization

and individual voters filed an action in the United States District Court for the Northern

District of Georgia, seeking to set aside the results of a 2016 Congressional race in which

the Republican candidate had prevailed. The Curling v. Raffensperger plaintiffs alleged

“sophisticated hackers – whether Russian or otherwise – had the capability and intent to

manipulate elections in the United States.” 20 They later asked the court to enter a

preliminary injunction barring Georgia in the 2020 general election from using Dominion’s

ballot marking devices from its Democracy Suite 5.5-A voting system. See Curling v.

Raffensperger, No. 1:17-CV-2989-AT, 2020 WL 5994029, at *1 (N.D. Ga. Oct. 11, 2020).

       39.    On October 11, 2020, just three weeks before the 2020 general election,

Judge Amy Totenberg 21 issued an order regarding the Dominion voting system’s security

risks and the potential for fraud or irregularities. 22 Judge Totenberg found substantial

evidence that the Dominion system was plagued by security risks and the potential for votes

to be improperly rejected or misallocated. She wrote, “The Plaintiffs’ national security

experts convincingly present evidence that this is not a question of ‘might this actually ever




20
   Amended Complaint, Doc. 15, N.D. Ga. No. 2017CV292233 (Ex. 4).
21
   Given the hyper-partisan nature of the allegations and assertions set forth in
Dominion’s Complaint, it is worth noting that Judge Totenberg was nominated to the
federal bench by President Obama in January of 2011.
22
   Curling v. Raffensperger, No. 1:17-CV-2989-AT, Doc. 964, 2020 WL 5994029, at *1
(N.D. Ga. Oct. 11, 2020) (Ex. 5).
                                             14
happen?’ – but ‘when it will happen,’ especially if further protective measures are not

taken.” 23

         40.      Judge Totenberg’s findings reflected many of the same issues which had

existed more than ten years earlier with Diebold’s system, ultimately purchased by

Dominion:

               • “[H]uge volume of significant evidence regarding the security risks
                 and deficits in the [Dominion] system as implemented . . .”

               • “Evidence presented in this case overall indicates the possibility
                 generally of hacking or malware attacks occurring in voting systems
                 and this particular system through a variety of routes – whether
                 through physical access and use of a USB flash drive or another form
                 of mini-computer, or connection with the internet.”

               • “[E]vidence credibly explaining how malware can mask itself when
                 inserted in voting software systems or QR codes, erase the malware’s
                 tracks, alter data, or create system disruption.”

               • “Defendants [including Dominion] do not appear to actually dispute
                 that cybersecurity risks are significant in the electoral sphere.”

               • Dominion’s Director of Product Strategy and Security
                 “acknowledged the potential for compromise of the [Dominion]
                 operating system, by exploiting a vulnerability, that could allow a
                 hacker to take over the Voting machine and compromise the security
                 of the voting system software.”

               • “[F]ormidable amount of evidence that casts serious doubt on the
                 validity of the use of the [risk-limiting audit statistical method for
                 auditing election outcomes] with the current [Dominion] system.” 24




23
     Id. at *58 (Ex. 5 at 146).
24
     Id. at *10-12, 13, 14, 16, 17, 32, 35, 12, 57, 145, 146.
                                                15
         41.     Judge Totenberg declined to enter a preliminary injunction because she felt

bound by Eleventh Circuit precedent, and there was not enough time before the election to

implement the requested relief—switching to paper ballots. Yet she expressed profound

concern regarding the Dominion voting system, and Dominion’s less than transparent

actions:

         The Court’s Order has delved deep into the true risks posed by the new
         [Dominion] voting system as well as its manner of implementation. These
         risks are neither hypothetical nor remote under the current circumstances.
         The insularity of the Defendants’ and Dominion’s stance here in evaluation
         and management of the security and vulnerability of the BMD system does
         not benefit the public or citizens’ confident exercise of the franchise. The
         stealth vote alteration or operational interference risks posed by malware that
         can be effectively invisible to detection, whether intentionally seeded or not,
         are high once implanted.

         The Plaintiffs’ national cybersecurity experts convincingly present evidence
         that this is not a question of ‘might this actually ever happen?’ — but ‘when
         it will happen,’ especially if further protective measures are not taken. Given
         the masking nature of malware and the current systems described here, if the
         State and Dominion simply stand by and say, “we have never seen it,” the
         future does not bode well. 25

         42.     Importantly, there is not a single case where a court has ruled on the merits

of Dominion’s voting machine integrity after having had a full opportunity to review the

evidence. The Curling decision comes the closest to a review of Dominion.

F.       Democratic lawmakers identify problems with Dominion’s voting systems.

         43.     Within a year prior to the 2020 election, on December 6, 2019, four

Democratic Members of Congress—Senator Elizabeth Warren, Senator Amy Klobuchar,

Senator Ron Wyden, and Congressman Mark Pocan—published an open letter concerning


25
     Id. at *58 (Ex. 5 at 146).
                                               16
major voting system manufacturers, including Dominion. 26 In the letter, they identified

numerous problems:

            • “trouble-plagued companies” responsible for manufacturing and
              maintaining voting machines and other election administration
              equipment, “have long skimped on security in favor of convenience,”
              leaving voting systems across the country “prone to security
              problems.”

            • “the election technology industry has become highly concentrated ...
              Today, three large vendors – Election Systems & Software,
              Dominion, and Hart InterCivic – collectively provide voting machines
              and software that facilitate voting for over 90% of all eligible voters
              in the United States.”

            • “Election security experts have noted for years that our nation’s
              election systems and infrastructure are under serious threat. . . . voting
              machines are reportedly falling apart, across the country, as vendors
              neglect to innovate and improve important voting systems, putting our
              elections at avoidable and increased risk. . . . Moreover, even when
              state and local officials work on replacing antiquated machines, many
              continue to ‘run on old software that will soon be outdated and more
              vulnerable to hackers.’”

            • “[J]urisdictions are often caught in expensive agreements in which the
              same vendor both sells or leases, and repairs and maintains voting
              systems-leaving local officials dependent on the vendor, and the
              vendor with little incentive to substantially overhaul and improve its
              products.[]” 27

      44.      Senator Warren, on her website, identifies an additional problem: “These

vendors make little to no information publicly available on how much money they dedicate

to research and development, or to maintenance of their voting systems and technology.




26
   Letter from Senators Warren, Klobuchar, and Wyden and Congressman Pocan to Steve
D. Owens and Hootan Yaghoobzadeh (Dec. 6, 2019) (Ex. 6).
27
   Id.
                                              17
They also share little or no information regarding annual profits or executive compensation

for their owners.” 28

       45.    In August 2018, Senator Klobuchar stated on nationally broadcast television,

Meet the Press, “I’m very concerned you could have a hack that finally went through. You

have 21 states that were hacked into, they didn’t find out about it for a year.” 29

       46.    Senator Wyden, also in the lead up to the 2020 election, explained during an

interview, “[T]oday, you can have a voting machine with an open connection to the

internet, which is the equivalent of stashing American ballots in the Kremlin. . . . [As] of

today, what we see in terms of foreign interference in 2020 is going to make 2016 look like

small potatoes. This is a national security issue! . . . The total lack of cybersecurity

standards is especially troubling . . . But the lack of cybersecurity standards leads local

officials to unwittingly buy overpriced, insecure junk. Insecure junk guarantees three

things: a big payday for the election-tech companies, long lines on Election Day, and other

hostile foreign governments can influence the outcome of elections through hacks.” 30



28
   Warren, Klobuchar, Wyden, and Pocan Investigate Vulnerabilities and Shortcomings
of Election Technology Industry with Ties to Private Equity, Elizabeth Warren: United
States Senator for MA (Dec. 10, 2019),
https://www.warren.senate.gov/oversight/letters/warren-klobuchar-wyden-and-pocan-
investigate-vulnerabilities-and-shortcomings-of-election-technology-industry-with-ties-
to-private-equity.
29
   NBC News, Amy Klobuchar: Concerned That A 2018 Election Hack Could Succeed
(Full) | Meet The Press | NBC News, YouTube (Aug. 5, 2018),
https://www.youtube.com/watch?v=9wtUxqqLh6U.
30
   Mark Sullivan, Senator Ron Wyden: The GOP is ‘making a mockery’ of election
security, FAST COMPANY (Feb. 19, 2020), available at
https://www.fastcompany.com/90465001/senator-ron-wyden-the-gop-is-making-a-
mockery-of-election-security.
                                              18
G.     After a thorough audit review, Dominion’s systems fail to obtain certification.

       47.    On October 2-3, 2019, Dominion presented its Democracy Suite 5.5-A

voting system in Texas for examination and certification. 31 It failed the test.

       48.    “The examiner reports identified multiple hardware and software issues . . .

Specifically, the examiner reports raise concerns about whether the Democracy Suite 5.5-

A system is suitable for its intended purpose; operates efficiently and accurately; and is

safe from fraudulent or unauthorized manipulation. 32

       49.    On January 24, 2020, the Texas Secretary of State denied certification of the

system for use in Texas elections. Texas’s designated experts who evaluated Democracy

Suite 5.5-A flagged risk from the system’s connectivity to the internet despite “vendor

claims” that the system is “protected by hardening of data and IP address features.” 33, 34

“[T]he machines could be vulnerable to a rogue operator on a machine if the election LAN

is not confined to just the machines used for the election . . . The ethernet port is active on

the ICX BMD during an election. . . . This is an unnecessary open port during the voting

period and could be used as an attack vector.” 35 Other security vulnerabilities found by

Texas include use of a “rack mounted server” which “would typically be in a room other


31
   Jose A. Esparza, Report of Review of Dominion Voting Systems Democracy Suite 5.5A,
Tex. Sec’y of State (Jan. 24, 2020), available at
https://www.sos.texas.gov/elections/forms/sysexam/dominion-d-suite-5.5-a.pdf (Ex. 7).
32
   Id.
33
   Letter from Brandon Hurley to Keith Ingram (Feb. 19, 2019) (Ex. 8).
34
   James Sneeringer, Ph.D., Voting System Examination: Dominion Voting Systems
Democracy Suite 5.5-A 2, 5 (TX Sec. of State Elections Div.), available at
https://www.sos.texas.gov/elections/forms/sysexam/oct2019-sneeringer.pdf.
35
   Tom Watson, Democracy Suite 5.5A 4-5 (TX Sec. of State Elections Div.), available at
https://www.sos.texas.gov/elections/forms/sysexam/oct2019-watson.pdf.
                                              19
than a room used for the central count” and would present a security risk “since it is out of

sight.” 36

        50.   Texas Attorney General Ken Paxton later explained, “We have not approved

these voting systems based on repeated software and hardware issues. It was determined

they were not accurate and that they failed — they had a vulnerability to fraud and

unauthorized manipulation.” 37

H.      Media reports and government findings expose longstanding, fundamental
        vulnerabilities in electronic voting systems.

        51.   Election officials and voting system manufacturers, including Dominion’s

CEO, have publicly denied that voting machines are connected to the internet and,

therefore, not susceptible to attack via the internet. 38 Dominion’s CEO, John Poulos,

testified in December 2020 that Dominion’s voting systems are “closed systems that are

not networked meaning they are not connected to the internet.” This is false.

        52.   Vice reported in 2019, “[A] group of election security experts have found

what they believe to be nearly three dozen backend election systems in 10 states connected

to the internet over the last year, including some in critical swing states. These include

systems in nine Wisconsin counties, in four Michigan counties, and in seven Florida



36
   Id.
37
   Brad Johnson, Texas Rejected Use of Dominion Voting System Software Due to
Efficiency Issues, The Texan, Nov. 19, 2020, https://thetexan.news/texas-rejected-use-of-
dominion-voting-system-software-due-to-efficiency-issues/.
38
   Kim Zetter, Exclusive: Critical U.S. Election Systems Have Been Left Exposed Online
Despite Official Denials, Vice (Aug. 8, 2019), available at
https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems-have-
been-left-exposed-online-despite-official-denials.
                                             20
counties. . . . [A]t least some jurisdictions were not aware that their systems were online[.]

. . . Election officials were publicly saying that their systems were never connected to the

internet because they didn’t know differently.” 39 In 2020, a team of election security

experts found more than 35 voting systems were online. 40

       53.    In 2020, NBC reported that voting machines were in fact connected to the

internet, making them susceptible to hacking, and “The three largest voting manufacturing

companies — Election Systems & Software, Dominion Voting Systems and Hart

InterCivic — have acknowledged they all put modems in some of their tabulators and

scanners. . . . Those modems connect to cell phone networks, which, in turn, are connected

to the internet . . . . ‘Once a hacker starts talking to the voting machine through the modem

. . . they can hack the software in the voting machine and make it cheat in future elections,’

[a Princeton computer science professor and expert on elections] said.” 41




39
   Id.
40
   Kevin Monahan, Cynthia McFadden, and Didi Martinez, ‘Online and Vulnerable’:
Experts find nearly three dozen U.S. voting systems connected to internet, NBC News,
Jan. 10, 2020, available at https://www.nbcnews.com/politics/elections/online-
vulnerable-experts-find-nearly-three-dozen-u-s-voting-n1112436.
41
   Id.
                                             21
        54.    In a 2019 story about the DEF CON hacking conference, NBC News

reported that Dominion avoided participation in the conference; that hackers can target

voting systems with ease; and that Dominion’s voting machines are connected to the

internet. 42




        55.    In 2017, Dominion refused to respond to CNNTech’s request for comment

about its hackable voting machines. 43 CNNTech also asked Jake Braun, a former security

advisor for the Obama administration and organizer of the DEF CON hacking conference,

“Do you believe that right now, we are in a position where the 2020 election will be

hacked?” He answered, “Oh, without question. I mean the 2020 election will be hacked no

matter what we do. . . .” 44




42
   NBC News, How Hackers Can Target Voting Machines | NBC News
Now, YouTube (Aug. 12, 2019), https://www.youtube.com/watch?v=QtWP0KDx2hA.
43
   CNN Business, We watched hackers break into voting machines, YouTube (Aug. 11,
2017), https://www.youtube.com/watch?v=HA2DWMHgLnc.
44
   Id.
                                           22
         56.   The Congressional Task Force on Election Security’s Final Report in January

2018 identified the vulnerability of U.S. elections to foreign interference: 45 “According to

DHS, Russian agents targeted election systems in at least 21 states, stealing personal voter

records and positioning themselves to carry out future attacks. . . media also reported that

the Russians accessed at least one U.S. voting software supplier . . . in most of the targeted

states officials saw only preparations for hacking . . . [but] in Arizona and Illinois, voter

registration databases were reportedly breached. . . If 2016 was all about preparation, what

more can they do and when will they strike? . . . [W]hen asked in March about the prospects

for future interference by Russia, then-FBI Director James Comey testified before

Congress that: “[T]hey’ll be back. They’ll be back in 2020. They may be back in 2018.” 46



45
     CONGRESSIONAL TASK FORCE ON ELECTION SECURITY, FINAL REPORT (2018) (Ex. 9).
46
     Id. at 6-7.
                                             23
       57.    The Congressional Task Force on Election Security report also stated that

“many jurisdictions are using voting machines that are highly vulnerable to an outside

attack,” in part because “many machines have foreign-made internal parts.” Therefore,

“[A] hacker’s point-of-entry into an entire make or model of voting machine could happen

well before that voting machine rolls off the production line.” 47

       58.    In 2016, “Russian agents probed voting systems in all 50 states, and

successfully breached the voter registration systems of Arizona and Illinois.” 48 The Robert

Mueller report and a previous indictment of twelve Russian agents confirmed that Russian

hackers had targeted vendors that provide election software, and Russian intelligence

officers “targeted employees of [REDACTED], a voting technology company that

developed software used by numerous U.S. counties to manage voter rolls, and installed

malware on the company network.” 49

       59.    A 2015 report issued by the Brennan Center for Justice listed two and a half-

pages of instances of issues with voting machines, including a 2014 post-election

investigation into machine crashes in Virginia which found “voters in Virginia Beach

observed that when they selected one candidate, the machine would register their selection



47
   Id. at 25 (citing Matt Blaze, et al., DEFCON 25 Voting Machine Hacking Village: Rep.
on Cyber Vulnerabilities in U.S. Election Equipment, Databases, and Infrastructure, 16
(2017) available at https://www.defcon.org/images/defcon-
25/DEF%20CON%2025%20voting%20village%20report.pdf).
48
   Jordan Wilkie, ‘They think they are above the law’: the firms that own America’s
voting system, THE GUARDIAN, Apr. 23, 2019, https://www.theguardian.com/us-
news/2019/apr/22/us-voting-machine-private-companies-voter-registration.
49
   Report On The Investigation Into Russian Interference In The 2016 Presidential
Election, p. 50, available at https://www.justice.gov/archives/sco/file/1373816/download.
                                             24
for a different candidate.” 50 The investigation also found that the Advanced Voting

Solutions WINVote machine, which is Wi-Fi-enabled, “had serious security

vulnerabilities” because wireless cards on the system could allow “an external party to

access the [machine] and modify the data [on the machine] without notice from a nearby

location,” and “an attacker could join the wireless ad-hoc network, record voting data or

inject malicious [data.]” 51

       60.     HBO’s documentary Kill Chain: The Cyber War on America’s Elections, 52

details the vulnerability of election voting machines, including Dominion’s. Harri Hursti,

a world-renowned data security expert, showed that he hacked digital voting machines to

change votes in 2005. According to Hursti, the same Dominion machine that Mr. Hursti

hacked in 2005 was slated for use in 20 states for the 2020 election.

       61.     In the documentary, Marilyn Marks, Executive Director of Coalition of Good

Governance (one of the Plaintiffs in Curling), stated, “In Georgia, we ended up seeing the

strangest thing. In a heavily Democratic precinct, there was one machine out of a seven-

machine precinct that showed heavy Republican wins, while the precinct itself and all of

the other machines were showing heavy Democratic wins.” Dr. Kellie Ottoboni,


50
   Lawrence Norden and Christopher Famighetti, AMERICA'S VOTING MACHINES AT
RISK, Brennan Ctr. for Just., 13 (Sep. 15, 2014), available at
https://www.brennancenter.org/sites/default/files/2019-
08/Report_Americas_Voting_Machines_At_Risk.pdf (Ex. 10).
51
   Id.
52
   Simon Ardizzone, Russell Michaels, and Sarah Teale, Kill Chain: The Cyber War on
America’s Elections, HBO (Mar. 26, 2020), available at
https://play.hbomax.com/feature/urn:hbo:feature:GXk7d3QAJHI7CZgEAACa0?reentere
d=true&userProfileType=liteUserProfile.

                                            25
Department of Statistics, UC Berkeley, stated the likelihood of this happening is “an

astronomically small chance.” It was less than one in a million. 53




       62.    In December 2020, the Department of Homeland Security’s Cybersecurity &

Infrastructure Agency (“CISA”) revealed that hackers infiltrated SolarWinds software. 54

Despite CEO Poulos’s claim that Dominion had never used SolarWinds, an archival

screenshot of Dominion’s website shows a now-erased SolarWinds logo (screenshot

below). Dominion in fact did use SolarWinds.




53
   Screenshot from
https://www.facebook.com/KillChainDoc/videos/2715244992032273/.
54
   Zachary Stieber, Dominion Voting Systems Uses Firm That Was Hacked, THE EPOCH
TIMES, Dec. 14, 2020, https://www.theepochtimes.com/mkt_app/dominion-voting-
systems-uses-firm-that-was-hacked_3617507.html.
                                             26
       63.    Dominion refuses to provide access to experts to forensically investigate its

“proprietary” software, machines, and systems, to further establish that its machines have

been hacked. This is telling in and of itself. Dominion denies the public access to the

evidence to substantiate that it has been hacked. It silences anyone who makes this claim

while simultaneously denying access to the key information one way or the other.

I.     Evidence shows that Dominion’s voting machines were manipulated during the
       2020 elections.

       64.    On Monday, November 2, 2020, the night before the 2020 election,

Dominion forced unplanned and unannounced software uploads into its machines. In some

counties in Georgia, Dominion’s irregular software update caused voting machines to crash

the next day during the election. The supervisor of one County Board of Elections stated

that Dominion “uploaded something last night, which is not normal, and it caused a glitch,”

and “[t]hat is something that they don’t ever do. I’ve never seen them update anything the

day before the election.” 55



55
  Kim Zetter, Cause of Election Day glitch in Georgia counties still
unexplained, POLITICO, Nov. 4, 2020,
https://www.politico.com/news/2020/11/04/georgia-election-machine-glitch-434065.
                                            27
       65.    During the 2020 election Dominion machines across the country were

connected to the internet when they should not have been. A Dominion representative

assigned to Wayne County, Michigan reported numerous irregularities with the election

process and Dominion’s machines, including that the voting machines were connected to

the internet and that the machines had scanning issues. In Wisconsin, Dominion machines

that were not supposed to be connected to the internet were in fact connected to a “hidden”

Wi-Fi network during voting. 56

       66.    Attorneys representing a Democratic candidate who lost in 2020 filed a brief

raising Dominion machine errors and election issues, arguing, “discrepancies between the

number of votes cast and the number of votes tabulated have been pervasive in the counting

of ballots for this race . . . In addition to the table-to-machine count discrepancies of which

the parties are aware, there have also been procedural inconsistencies that question the

integrity of the process . . . [T]he audit results revealed ‘unexplained discrepancies’ but

failed to provide any explanation . . . what caused those discrepancies or if they were ever

resolved . . . In this case, there is reason to believe that voting tabulation machines misread

hundreds if not thousands of valid votes as undervotes . . .” 57

       67.    Michael Spitzer-Rubenstein, a political operative, was given internet access

to a hidden Wi-Fi network at an election center where votes were being counted. 58 Spitzer-


56
   M.D. Kittle, EMAILS: GREEN BAY’S ‘HIDDEN’ ELECTION NETWORKS,
WISCONSIN SPOTLIGHT, Mar. 21, 2021, https://wisconsinspotlight.com/emails-green-
bays-hidden-election-networks/.
57
   Oswego County, Index No. ECF 2020-1376, dated February 1, 2021 at 2.
58
   M.D. Kittle, Democrats’ Operative Got Secret Internet Connection at Wisconsin
Election Center, Emails Show, DAILY SIGNAL, Mar. 23, 2021, available at
                                              28
Rubenstein received an email from Trent James, director of event technology at Green

Bay’s Central Count location, which stated, “One SSID [for a Wi-Fi network] will be

hidden and it’s: 2020vote. There will be no passwords or splash page for this one and it

should only be used for the sensitive machines that need to be connected to the internet.”

Four other individuals were copied on the email.

       68.      Following the 2020 election, state lawmakers initiated investigations and

audits of the results, often directing particular attention to Dominion’s voting systems.

             a. Congressman Paul Gosar called for a special session of the Arizona

               legislature to investigate the accuracy and reliability of the Dominion ballot

               software. 59 On January 27, 2021, the Maricopa County, Arizona Board of

                Supervisors voted unanimously to approve an audit of the 2020 election

                results and a forensic audit of Dominion’s voting machines. 60 The Arizona

                senate hired a team of forensic auditors consisting of four companies to

                review Maricopa’s election process. 61 A week later, attorneys sent each of

                those four companies a threatening cease-and-desist letter, improperly




https://www.dailysignal.com/2021/03/23/democrats-operative-got-secret-internet-
connection-at-wisconsin-election-center-emails-show/.
59
   Hannah Bleau, Rep. Paul Gosar Calls on Arizona Officials to ‘Investigate the
Accuracy’ of the Dominion Ballot Software After Reports of ‘Glitches,’ BREITBART, Nov.
7, 2020, https://www.breitbart.com/politics/2020/11/07/rep-gosar-calls-on-az-officials-
investigate-the-accuracy-of-the-dominion-ballot-software-after-reports-of-glitches/.
60
   AUDITING ELECTIONS EQUIPMENT IN MARICOPA COUNTY,
https://www.maricopa.gov/5681/Elections-Equipment-Audit (last visited Apr. 18, 2021).
61
   Press Release, Arizona State Senate, Arizona Senate hires auditor to review 2020
election in Maricopa County (Mar. 31, 2021) (on file with author) (Ex. 11).
                                             29
               attempting to influence the reviews. 62 The audit is scheduled for April 19 to

               May 14, 2021.

            b. In the Michigan case of Bailey v. Antrim, Cyber Ninjas and CyFir have found

               Dominion voting machines are connected to the internet, either by Wi-Fi or

               a LAN wire; there are multiple ways election results could be modified and

               leave no trace; and the same problems have been around for 10 years or

               more. 63

            c. On April 12, 2021, New Hampshire Governor Christopher Sununu

               announced he had signed legislation appointing an audit of a Rockingham

               County race which relied upon Dominion voting machines after suspicious

               uniform shorting of vote tallies for four candidates was uncovered.

            d. On March 23, 2020 the Wisconsin Assembly ordered an investigation into

               the 2020 election. Wisconsin uses Dominion voting machines. 64

            e. Investigations into election irregularities are also ongoing in Pennsylvania

               and Georgia, states which also use Dominion voting machines.

      69.      Even the Biden administration has recently sanctioned Russia for election

interference and hacking.


62
   Letter from Sara Chimene-Weiss, James E. Barton II, Roopali H. Desai, and Sarah R.
Gonski to Cyber Ninjas, CyFir, Digital Discovery, and Wake Technology Services (Apr.
6, 2021) (Ex. 12).
63
   Pl.’s Collective Resp. to Defs.’ and Non-Party Counties’ Mots. to Quash and for
Protective Orders at Exs. 7-8 (April 9, 2021), Bailey v. Antrim County (No. 20-9238).
64
   Scott Bauer, Wisconsin Assembly OKs investigation into 2020 election, FOX6 NEWS
MILWAUKEE, Mar. 23, 2020, https://www.fox6now.com/news/wisconsin-assembly-
approves-election-investigation.
                                             30
J.     Dominion is using the legal process to censor, attack, and destroy anyone who
       questions the 2020 election and voting machine hacking and manipulation.

       70.      Through aggressive litigation, threats of litigation, and publicization of these

activities, Dominion seeks to stop criticism of election voting machines and suppress

information about how its machines have been hacked in American elections. This

campaign of “lawfare” is intended to stifle any and all public debate about the reliability

of the election results, whether such speech is related to Dominion or not.

       71.      Dominion has filed a $1.3 billion lawsuit against Sidney Powell. Dominion

has filed a $1.3 billion lawsuit against Rudy Giuliani. Dominion has filed a $1.6 billion

lawsuit against Fox News. Dominion has filed a $1.3 billion lawsuit against MyPillow and

its CEO. Yet Dominion’s annual revenues are only about $90 million. 65 Dominion’s

exaggerated lawsuits are not about any damages it has suffered; they are designed to

intimidate those who exercise their right to free speech about the election.

       72.      Dominion amplifies the effect of its exaggerated lawsuits with threatening

letters and a publicity campaign.

             a. Dominion has sent at least 150 attorney letters, threatening the recipients

                with legal action. Some of these letters include copies of Dominion’s legal

                papers in its lawsuits. The clear message of these letters is that anyone who

                comments publicly about Dominion will be ruined.


65
  “The entire sector generates only about $300 million in revenue annually, according to
Harvard professor Stephen Ansolabehere, who studies elections and formerly directed the
Caltech/MIT Voting Technology Project,” and “Dominion, [] has about 30% of the
market.” https://www.propublica.org/article/the-market-for-voting-machines-is-broken-
this-company-has-thrived-in-it.
                                               31
b. Dominion sent threatening letters to numerous individuals who signed sworn

   affidavits that were used in litigation about the election process. In many

   cases, the poll watchers’ affidavits did not include any statement about

   Dominion or the election. But Dominion’s campaign is total; it seeks to deter

   any public expression about the election. Dominion’s clear threats that it will

   sue witnesses who testify about election irregularities or fraud does not

   threaten just the individual witnesses; it threatens the integrity of the justice

   system as a whole.

c. In one instance, Dominion sent an intimidating letter to the uncle of an

   attorney involved in litigation about the 2020 election. The uncle himself had

   no involvement, but for the circumstance of being related to someone

   investigating Dominion and the election, Dominion accused him of

   disseminating misinformation and making false accusations. Its letter

   threatened, “Litigation regarding these issues is imminent.”




                                  32
d. Another individual, an actuary, performed statistical analyses, inquiring

   whether the presence of Dominion voting machines affected election

   outcomes. He found nonrandom differences in counties that used Dominion

   machines. Dominion mailed him a box, pictured below, full of legal papers,

   which included lawsuits filed against other citizens along with a threatening

   demand letter. As a result of speaking out, the actuary lost business and was

   forced to self-censor.




                                 33
       73.      To further amplify the impact of its legal letters and exaggerated lawsuits,

Dominion has bragged about and widely publicized them, seeking to ensure that everyone

– not just the recipients of its attorney letters – knows they will be punished if they speak

against Dominion, and anyone could be the next victim of a Dominion billion-dollar

lawsuit. For example:

             a. In a nationally televised interview, Dominion CEO John Poulos announced,

                “Our legal team is looking at frankly everyone, and we’re not ruling

                anybody out.” He said Dominion’s previous lawsuit was “definitely not the

                last lawsuit” it would be filing.




                                               34
             b. Dominion’s website prominently displays its lawsuits, even ahead of its own

                products, and statements from its attorneys. The website boasts, “Dominion

                has sent preservation request letters to Powell, Giuliani, Fox, OAN, and

                Newsmax, as well as more than 150 other individuals and news

                organizations. Stay tuned to this page for updates.”

       74.      The substantial expense of litigation in defamation lawsuits brought by

governmental actors (like Dominion) against their critics has an enormous chilling effect

on speech. Dominion has issued a general threat to all (“Our legal team is looking at frankly

everyone, and we’re not ruling anybody out”) and sharpened that threat by delivering it to

specific individuals (“litigation regarding these issues is imminent”) – sometimes

accompanied by copies of lawsuits Dominion had already filed against others.

       75.      Dominion’s use of lawfare tears at the fabric of our constitutional order. If

successful, the scheme will cripple our system’s ability to ferret out and stop electoral

manipulation, as well as cut a wide hole in the First Amendment.

                                              35
K.       Mike Lindell Speaks out about the 2020 elections.

         76.   Mike Lindell, the CEO of MyPillow, has spoken out in his personal capacity

about Dominion, about electronic voting machines, and on issues of election integrity.

Lindell made speeches, gave interviews, and posted his thoughts and opinions on social

media.

         77.   In making these statements, Lindell spoke for himself, not MyPillow.

MyPillow has not engaged in discussion about the 2020 election. However, as an American

company supporting American constitutional values, MyPillow unreservedly supports

Lindell’s right to exercise his First Amendment freedoms concerning the matters of critical

public concern, like election matters.

L.       Dominion attacks Lindell and MyPillow.

         78.   Dominion aggressively pushed a narrative that there should be no concern

regarding the integrity of the election. Dominion took equally aggressive action to demand

no criticism. In response to Lindell’s exercise of his First Amendment free speech rights,

Dominion launched its lawfare campaign against both Lindell and MyPillow. Lawfare is

the use of the legal system as part of wrongful scheme to attack another person and inflict

extra-judicial harm upon them. Here, Dominion’s scheme is wrongful because Dominion’s

purpose is to punish and deter important constitutionally-protected activity–free expression

about a matter of public concern.

         79.   In furtherance of this scheme, Dominion had threatening lawyer letters

delivered, filed enormous lawsuits against MyPillow (and others), sensationalized the

lawsuits through a large media campaign, and threatened to file additional lawsuits against

                                            36
anyone who exercises their constitutionally protected right to free expression in a matter

contrary to the interests of Dominion and its allies. Dominion has issued a general threat

to all (“our legal team is looking at frankly everyone, and we’re not ruling anybody out”

and sharpened that threat by delivering it to specific individuals (“Litigation regarding

these issues is imminent”) – sometimes accompanied by copies of lawsuits Dominion

already filed.

          80.    MyPillow and its employees have suffered severe extra-judicial harm from

Dominion’s scheme.

M.        Dominion’s wrongful attack against MyPillow and the damaging fallout.

          81.    Dominion’s campaign descends from a long and sad history in this country,

the McCarthy era in which lives and organizations were destroyed, and families torn apart,

for being labeled a Communist. Just as during that era being associated with a suspected

Communist could end a professional career, 66 so too today, those who, like MyPillow are

merely associated with a critic of Dominion and the integrity of the 2020 election, face

expulsion from public life in large parts of America. Dominion is using today’s cancel

culture to eliminate dissent and to cover up the election issues that compromised the 2020

result.

          82.    Even giant, publicly traded retailers are not immune from public opinion and

political pressures. Fearing retribution in the marketplace, many of MyPillow’s




66
  James E. Moliterno, Politically Motivated Bar Discipline, 83 WASH. U. L. Q., 725, 729
(2005).
                                              37
commercial suppliers and buyers have as a direct result of Dominion’s crusade terminated

longstanding relationships with MyPillow which were projected to grow.

            a. Directly following Dominion’s publicized threats to sue MyPillow’s CEO,

               as promoted through national media, a nationwide retailer canceled a

               significant purchase order with MyPillow.

            b. Directly following Dominion’s filing of its lawsuit against MyPillow,

               MyPillow lost another significant nationwide-retailer customer.

            c. A third retailer cited the coverage in the media of Dominion’s campaign as

               the reason for cutting ties with MyPillow.

            d. Numerous others have cut ties as well, for the same reasons. 67

      83.      MyPillow has suffered the loss of access to marketing media as a result of

Dominion’s highly publicized lawfare campaign.

            a. Following Dominion’s lawsuit against MyPillow, a radio station

               representing a key advertising stream canceled its relationship with

               MyPillow.

            b. Many of MyPillow’s social media platforms have been limited, restricted, or

               removed altogether. Immediately following, and as a direct result of

               Dominion’s legal threats and media attacks against MyPillow, MyPillow




67
  Justin Barclay, The Official List of Every Business That Has Dropped MyPillow, WEST
MICHIGAN LIVE BLOG (Feb. 10, 2021), https://woodradio.iheart.com/content/2021-02-10-
the-official-list-of-every-business-that-has-dropped-mypillow/.
                                             38
                was deplatformed from a major social media outlet, which significantly

                harmed the company and the brand.

       84.      MyPillow has suffered from attacks on the employees on whom it relies to

accomplish its production and sales.

             a. MyPillow employees are subjected to daily hateful and barbaric calls, emails,

                and comments on the company’s social media platforms.

             b. MyPillow employees have been subjected to ridicule in their personal lives,

                and death threats necessitating protection from local law enforcement.

                Dominion’s actions have seeped into nearly every aspect of their personal

                lives, including their ability to use social media freely and feel comfortable

                in their homes, neighborhoods, and workplace.

             c. MyPillow employees have been forced to limit (and even remove) private

                social media posts, profile pictures, information, and accounts for fear of

                harassment by Dominion and those it stirs up.

       85.      All this damage to MyPillow and its employees was intentionally caused by

Dominion. MyPillow has not made a single statement about Dominion prior to Dominion’s

lawsuit. Dominion nonetheless targeted MyPillow and its employees with one of the largest

defamation lawsuits in history and encouraged a firestorm of media coverage in order to

punish MyPillow for the free speech of its founder—and to send a message to others to

stay silent.

       86.      MyPillow has never entered the public debate about the 2020 election; again,

it has made no statement about Dominion whatsoever. Yet Dominion, an agent of the

                                              39
government, has intentionally and wrongfully inflicted great harm upon MyPillow and its

employees.

       87.    Resulting from Defendants’ conduct, Plaintiff has suffered and is continuing

to suffer damages, including but not limited to a reasonable multiple of enterprise value,

exceeding $1.6 billion.

                              V.     CAUSES OF ACTION

                                        Count 1
                                   42 U.S.C. § 1983
             Free Speech – Violation of First and Fourteenth Amendments
                                      (Lawfare)

       88.    MyPillow repeats and realleges all allegations set forth above as if they were

stated in full and incorporated herein.

       89.    Defendants, at all times relevant hereto, were performing and fulfilling a

traditional and exclusive state and governmental function of administering public elections,

pursuant to state statutes, ordinances, regulations, customs, rules and policies established

thereunder, and as such, were acting under color of state law.

       90.    As detailed above, Defendants, in their role as agents of the state

administering public elections, have conducted an expansive illegal campaign which was

designed to, and did, punish and silence any voice that criticized or questioned Defendants’

actions or products.

       91.    Defendants’ illegal campaign to punish and silence their critics violates the

Free Speech Clause of the First Amendment as applied to the states and their political

subdivisions and agents under the Fourteenth Amendment and 42 U.S.C. § 1983.


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       92.    Defendants intended to harm Plaintiff as part of their illegal campaign

because of Plaintiff’s affiliation with its CEO Mike Lindell, who publicly expressed

opinions that Defendants wrongfully sought to suppress and punish.

       93.    Defendants’ illegal campaign to punish and silence their critics violated the

protected speech rights of MyPillow, its executives, and its employees by (a) intentionally

seeking, through threats, intimidation, and litigation, to deter MyPillow, its executives, and

its employees from exercising their free speech rights, thereby chilling their future exercise

of their Constitutional rights; and (b) intentionally seeking, through threats, intimidation,

and litigation, to deter MyPillow from expressing in the future any idea or opinion disliked

by Defendants in MyPillow’s advertising and promotional materials, including the use of

particular words as coupon codes.

       94.    Defendants’ deprivation of MyPillow’s and its executives’ and employees’

Constitutional rights, both directly and as third parties, caused injury to MyPillow,

including, but not limited to, loss of long-standing business relationships, loss of customer

and supplier contracts, loss of promotional access in media, expenditure of attorney fees,

emotional distress of employees resulting from threats and verbal attacks, diversion of

employee time and attention away from MyPillow, and the chilling of MyPillow’s

Constitutional right to free speech and expression.

       95.    Resulting from Defendants’ conduct, Plaintiff has suffered damages as

described herein.




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                                         Count 2
                                     42 U.S.C. § 1983
                                         Reprisal

       96.    MyPillow repeats and realleges all allegations set forth above as if they were

stated in full and incorporated herein.

       97.    Defendants, at all times relevant hereto, were performing and fulfilling a

traditional and exclusive state governmental function of administering public elections,

pursuant to state statutes, ordinances, regulations, customs, rules and policies established

thereunder, and as such, were acting under color of state law.

       98.    Defendants intended to harm Plaintiff as part of their illegal campaign,

because of Plaintiff’s affiliation with its CEO Mike Lindell, who publicly expressed

opinions that Defendants wrongfully sought to suppress and punish.

       99.    Defendants’ reprisal actions were motivated, at least in part, by MyPillow’s

and its CEO’s exercise of their free speech rights protected under the First Amendment

and, as applied against the states and their political subdivisions and agents, the Fourteenth

Amendment.

       100.   Defendants’ reprisal actions would chill a person of ordinary firmness from

continuing in the constitutionally protected activity, and indeed, Defendants’ reprisal

actions have chilled MyPillow, its executives, and its employees from exercising their First

Amendment free speech rights.

       101.   Defendants’ deprivation of MyPillow’s and its executives’ and employees’

Constitutional rights, both directly and as third parties, caused injury to MyPillow,

including, but not limited to, loss of long-standing business relationships, loss of customer

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and supplier contracts, loss of promotional access in media, expenditure of attorney fees,

emotional distress of employees resulting from threats of verbal attacks, diversion of

employee time and attention away from MyPillow, and the chilling of MyPillow’s

Constitutional right to free speech and expression.

       102.   Resulting from Defendants’ conduct, Plaintiff has suffered damages as

described herein.

                                        Count 3
                                    42 U.S.C. § 1983
                            Fourteenth Amendment Violations

       103.   MyPillow repeats and realleges all allegations set forth above as if they were

stated in full and incorporated herein.

       104.   Defendants, at all times relevant hereto, were performing and fulfilling a

traditional and exclusive state governmental function of administering public elections,

pursuant to state statutes, ordinances, regulations, customs, rules and policies established

thereunder, and as such, were acting under color of state law.

       105.   As detailed above, Defendants, in their role as agents administering public

elections, have conducted an expansive illegal campaign which was designed to, and did,

punish and silence any voice that criticized or questioned Defendants’ actions or products

– in part by creating public pressure on Plaintiff’s commercial counterparties to terminate

their relationships with Plaintiff.

       106.   Defendants intended to harm Plaintiff as part of their illegal campaign,

because of Plaintiff’s affiliation with its CEO Mike Lindell, who publicly expressed

opinions that Defendants wrongfully sought to suppress and punish.

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       107.   As the result of Defendants’ actions, and as expected and intended by them,

Plaintiff suffered the loss of substantial property interests, including, but not limited to,

loss of long-standing business relationships, loss of supplier contracts, and loss of access

to promotional access in media.

       108.   Plaintiff was not provided due process in connection with the loss of its

property interests caused by Defendants.

       109.   In the alternative, Defendants illegally created a danger of injury to Plaintiff,

and Plaintiff was then injured in its property interests through the danger source created by

Defendants.

          a. Plaintiff was a member of a limited, precisely definable group, specifically,

              individuals and entities targeted by Defendants on the basis of their

              expression of ideas that Defendants desired to suppress or their affiliation

              with someone who expressed ideas that Defendants desired to suppress.

          b. Defendants’ conduct put Plaintiff at a significant risk of serious, immediate

              and proximate harm. Specifically, Defendants’ campaign of threats,

              litigation, and public vilification created, and was intended to create, a

              significant risk that contract partners, suppliers, media sources, and others in

              the marketplace would terminate Plaintiff’s supply relationships, sales

              channels, and marketing avenues. Defendants sought to, and did, stir up the

              ostracization and termination of Plaintiff from its commercial connections.

          c. The risk of this outcome was obvious and known to Defendants, because

              their public campaign was intended to turn the marketplace against Plaintiff,

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              as part of Defendants’ plan to punish and silence their critics and those

              associated with their critics.

          d. Defendants acted recklessly and in conscious disregard of the risk to

              Plaintiff, intentionally pursuing their campaign of threats, litigation, and

              public vilification.

          e. Defendants’ conduct shocks the conscience because it was motivated by an

              intent to harm Plaintiff, or at minimum was pursued with deliberate

              indifference to injuries to Plaintiff that would likely result from Defendants’

              campaign against Mike Lindell.

       110.   Defendants are liable to Plaintiff pursuant to 42 U.S.C. § 1983 for the injury

inflicted under color of law by them upon Plaintiff, through the deprivation of rights,

privileges, and immunities secured by the Constitution, by depriving Plaintiff of property

without due process of law in violation of the Fourteenth Amendment.

       111.   Defendants’ deprivation of MyPillow’s Constitutional rights, both directly

and as a third party, caused injury to MyPillow, including, but not limited to, loss of long-

standing business relationships, loss of supplier contracts, loss of promotional access in

media, expenditure of attorney fees, emotional distress of employees resulting from threats

of verbal attacks, diversion of employee time and attention away from MyPillow, and the

chilling of MyPillow’s Constitutional right to free speech and expression.

       112.   Resulting from Defendants’ conduct, Plaintiff has suffered damages as

described herein.



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                                        Count 4
              Tortious Interference with Prospective Economic Advantage

       113.    MyPillow repeats and realleges all allegations set forth above as if they were

stated in full and incorporated herein.

       114.    Defendants intentionally and improperly interfered with Plaintiff’s

prospective contractual relations by falsely maligning Plaintiff in public, thereby inducing

many of Plaintiff’s commercial suppliers and buyers to terminate their long-standing

relationships with Plaintiff so that Plaintiff lost the benefit of its expected future sales to

and from these entities.

       115.    As detailed in the allegations above, Defendants have intentionally and

improperly made false statements about Plaintiff, including, but not limited to, false

statements regarding Plaintiff’s position on controversial political issues and false

statements that Plaintiff authorized and recognized numerous promotional codes that

supported various terroristic ideals, groups, or organizations. Defendants also intentionally

and improperly filed and widely publicized a frivolous $1.3 billion lawsuit against Plaintiff

and publicly threatened to bring additional similar lawsuits against others.

       116.    As Defendants knew or expected would happen, their intentional and

improper actions stirred up public controversy and fear surrounding Plaintiff that caused

Plaintiff’s commercial suppliers and buyers to dread corresponding controversy and

damage to their own reputations if they continued to engage in business with Plaintiff. The

sense of negative publicity stirred up by Defendants caused Plaintiff’s existing commercial

customers, suppliers and buyers, and potential customers, suppliers and buyers, to conclude


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that Plaintiff was too reputationally toxic to engage in business transactions with. Further,

Defendants’ frivolous $1.3 billion lawsuit against Plaintiff caused Plaintiff’s current and

prospective commercial customers, suppliers and buyers, and potential customers,

suppliers and buyers to fear Plaintiff would be unable to continue in its ordinary course of

business. Further, Defendants’ false publicity campaign caused media companies to

terminate Defendants’ access to their broadcast and publishing services.

       117.   The commercial relationships that Plaintiff lost as a result of Defendants’

wrongful acts taken without legal justification were in many cases longstanding

relationships that Plaintiff had every reasonable expectation would continue to Plaintiff’s

economic advantage, absent the acts of Defendants.

       118.   Defendants knew of Plaintiff’s business, its manufacturing, and its sales, and

knew or should have known Plaintiff had existing commercial customer, supplier and buyer

relationships that Plaintiff expected to continue. Yet Defendants intentionally engaged in

their tortious and wrongful acts that Defendants knew or should have known would cause

the loss of Plaintiff’s expected economic advantages through continued commercial supply

and sales transactions.

       119.   Absent Defendants’ wrongful acts, Plaintiffs’ longstanding successful

commercial customer, supplier and buyer relationships would have continued indefinitely.

       120.   Defendants’ wrongful acts have injured Plaintiff, including but not limited to

Plaintiff’s loss of customer, supplier, and public good will, loss of long-standing business

relationships, loss of supplier contracts, and loss of access to promotional access in media.

These injuries have caused substantial pecuniary harm to Plaintiff.

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       121.   Resulting from Defendants’ conduct, Plaintiff has suffered damages as

described herein.

                                        Count 5
                                    Abuse of Process
                              Against Dominion Defendants

       122.   MyPillow repeats and realleges all allegations set forth above as if they were

stated in full and incorporated herein.

       123.   On February 22, 2021, Defendants filed a lawsuit against Plaintiff in the

United States District Court for the District of Columbia, asserting meritless claims that

sought to impose liability on Plaintiff for personal political statements protected by the

First Amendment that had been made by Plaintiff’s CEO, Mike Lindell. Plaintiff made no

statements.

       124.   Defendants had an ulterior purpose in filing their D.C. Action against

Plaintiff. The D.C. Action is merely part of a much larger campaign described above by

Defendants who have intentionally sought to intimidate the American public and deter

anyone from publicly discussing and commenting on Defendants’ services, products, and

administration of the 2020 election in any way that was unfavorable to Defendants.

Defendants’ ulterior purpose was wrongful and improper.

       125.   By filing and pursuing the D.C. Action, Defendants intentionally sought to

make an example of Plaintiff, so that all who learned of the action would fear similar

actions being brought against themselves and would not criticize Defendants. Dominion’s

CEO John Poulos threatened on national television that the D.C. Action against MyPillow

was “definitely not the last lawsuit“ and that Dominion is “not ruling anyone out.”

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       126.    Defendants also mailed copies of the D.C. Action, and other actions they had

filed against other parties, to specific individuals whom they sought to intimidate from

making statements or providing testimony or sworn statements about the 2020 elections.

On information and belief, Defendants filed their action against Plaintiff in part to create

litigation papers they could mail out as part of their campaign to block commentary and

evidence about the 2020 elections unfavorable to Defendants.

       127.    Deterrence of public commentary, deterring individuals from providing

evidence related to public elections, and deterrence of criticism of Defendants are not

proper objectives for the filing of a lawsuit and are not results within the scope of a civil

lawsuit. Yet Defendants filed, served, and are pursuing the D.C. Action for the intended

malicious purpose of accomplishing these results.

       128.    Defendants’ abuse of the litigation process for these ends is particularly

egregious in light of Defendants’ governmental role of administering presidential and

congressional elections. The sunlight of public discussion, scrutiny, and evidence-

gathering is necessary to ensure votes are collected and counted fairly, and to hold those

entrusted with administering the process accountable to a high standard of accuracy,

security, and reliability.

       129.    Defendants’ abuse of the litigation process has caused extensive injury to

Plaintiff, including, but not limited to, loss of long-standing business relationships, loss of

supplier contracts, loss of access to promotional access in media, and expenditure of

attorney fees defending against the D.C. Action.



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       130.    Defendants are liable to Plaintiff for the injuries it has sustained as a result

of Defendants’ abuse of process.

       131.    Resulting from Defendants’ conduct, Plaintiff has suffered damages as

described herein.

                                 JURY TRIAL DEMANDED

       132.    Under Rule 38 of the Federal Rules of Civil Procedure, MyPillow demands

a trial by jury of all issues so triable in this action.

                               VI.     PRAYER FOR RELIEF

Plaintiff MyPillow requests the following relief:

       1.      Entry of judgment in favor of MyPillow against Defendants on Counts 1-5

in this Complaint, in an amount to be determined at trial, but at least in an amount that

exceeds the jurisdictional limits of this Court;

       2.      An award of damages to MyPillow for Defendants’ unlawful conduct as set

forth herein, including a reasonable multiple of enterprise value, exceeding $1.6 billion;

       3.      An award of damages to MyPillow for the suppression and deprivation of its

constitutional rights as set forth herein;

       4.      An injunction prohibiting any further suppression of speech regarding

Dominion’s handling of the 2020 election or the integrity of its voting systems;

       5.      An award of attorneys’ fees, costs, expenses, and disbursements;

       6.      An award of pre-judgment and post-judgment interest on all damages owed

to MyPillow; and

       7.      Such other and further relief as is just and proper.

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Dated: April 19, 2021        PARKER DANIELS KIBORT LLC

                             By /s/ Andrew D. Parker
                             Andrew D. Parker (#195042)
                             Joseph A. Pull (#386968)
                             Gregory N. Arenson (#398276)
                             Abraham S. Kaplan (#399507)
                             888 Colwell Building
                             123 North Third Street
                             Minneapolis, MN 55401
                             Telephone: (612) 355-4100
                             Facsimile: (612) 355-4101
                             parker@parkerdk.com
                             pull@parkerdk.com
                             arenson@parkerdk.com
                             kaplan@parkerdk.com

                             ATTORNEYS FOR PLAINTIFF MY
                             PILLOW, INC. DBA MYPILLOW




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